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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK


                                                       Case No: 1:19-cv-01424-NGG-JRC

    In re NIO, Inc. Securities Litigation              Class Action




    NOTICE OF CLASS REPRESENTATIVES’ UNOPPOSED MOTION TO APPROVE
                 THE FORM AND MANNER OF CLASS NOTICE


         PLEASE TAKE NOTICE that Court-appointed Class Representatives Mark Mundy and

  Eva Huang, by and through their undersigned attorneys, will move this Court, before the

  Honorable Nicholas G. Garaufis, United States District Judge, at the United States Courthouse,

  225 Cadman Plaza East, Brooklyn, NY, 11201, on a date and at a time designated by the Court,

  for an Order, pursuant to Rules 23 of the Federal Rules of Civil Procedure:

         1. Approving the form and content of the proposed Notice of Pendency of Class Action

             (“Long Notice”), the proposed Summary Notice of Pendency of Class Action

             (“Summary Notice”), and the proposed Postcard Notice (“Postcard Notice,” together

             with the Long Notice and Summary Notice, the “Notice”); and

         2. Approving the proposed methods of disseminating the Notice to the Court-certified

             Class.

         PLEASE TAKE FURTHER NOTICE that a Memorandum of Law and the Declaration of

  Laurence Rosen and exhibits thereto are submitted herewith in support of the motion.

         PLEASE TAKE FURTHER NOTICE that a proposed order is submitted herewith.

         Defendants do not oppose this motion.




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  Dated: July 10, 2024               Respectfully submitted,

                                     THE ROSEN LAW FIRM, P.A.
                                     By: /s/ Laurence Rosen
                                     Laurence Rosen
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                                     Class Counsel




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                                     CERTIFICATE OF SERVICE


            I hereby certify that on July 10, 2024, I caused the foregoing to be filed with the Court’s
  CM/ECF system, which will notify those attorneys who are registered with CM/ECF of this
  filing.


                                                                  /s/ Laurence Rosen
                                                                  Laurence Rosen




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